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PROB 12C
(7/93)

                                  United States District Court
                                                    for
                                      District of New Jersey
        Petition for Warrant or Summons for Offender Under Supervision

Name of Offender: Orlando Flores                                           Docket Number: 03-00609-00 1
                                                                                 PACTS Number: 15327

Name of Sentencing Judicial Officer: Honorable Dickinson R. Debevoise

Date of Original Sentence: 04/1 1/2005

Original Offense: Conspiracy to Distribute a Controlled Dangerous Substance (Cocaine)

Original Sentence: 24 months imprisonment followed by 5 years supervised release and $100 special
assessment. Special conditions: Cooperate with Immigration and Customs Enforcement and DNA
collection.

Type of Supervision: Supervised Release                           Date Supervision Commenced: 5/13/05

Assistant U.S. Attorney: Margaret A. Mahoney, 970 Broad Street, Room 502, Newark, New Jersey 07102
(973) 645-2700

Defense Attorney: Michele A. Adubato, 725 Broadway. Bayonne, New Jersey 07002
(201) 858-3771



                                  PETITIONING THE COURT

[X] To issue a warrant
    To issue a summons

The probation officer believes that the offender has violated the following condition(s) of supervision:

Violation Number     Nature of Noncompliance


 1.                   The offender has violated the supervision condition which states ‘You shall not
                      leave the judicial district without the permission of the Court or Probation
                      Officer.’

                     Flores relocated to Peru, South America, during December 2009 without
                     notifying the probation office of his change of residence.

                     The offender has violated the supervision condition which states ‘You shall
                     report to the probation officer as directed by the Court or probation officer,
                     and shall submit a truthful and complete written report within the first five
                     days of each month.’

                     Flores failed to report to the U.S. Probation Office, as directed, on February 22,
                     2010, and by’ telephone, on or about February 9, 2010. Flores has failed to
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                                                                                                Orlando Flores


                   submit monthly supervision reports since October 2009.

                   The offender has violated the supervision condition which states ‘You shall
                   notify the probation officer within 72 hours of any change of residence or
                   employment.’

                   Flores relocated to Peru, South America, during December 2009 without
                   notifying the probation office of his change of residence.

                   The offender has violated the supervision condition which states ‘You shall not
                   commit another federal, state, or local crime.’

                   On November 30, 2005, Flores was arrested by the Union City Police and
                   charged with Receiving Stolen Property and Unlawful Taking Means of
                   Conveyance.

 5.                The offender has violated the supervision condition which states ‘You shall not
                   associate with any persons engaged in criminal activity, and shall not
                   associate with any person convicted of a felony unless granted permission
                   to do so by the probation officer.’

                   On October 24, 2006, Flores stated he had face4o-face interaction with a known
                   convicted felon, Saulo Mora.

                   The Probation Office has determined this conduct constitutes a Grade C
                   violation.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                                               By:   driana Garcia
                                                                   U.S. Probation Officer
                                                               Date: 3/22/10

THE COURT ORDERS:

j The Issuance of a Warrant
  J The Issuance of a Summons. Date of Hearing:
[J No Action


                                                                     Dickinson R. Debevoise
                                                                     Signature of Judicial Officer




                                                                                     Date
